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15   FORD MOTOR COMPANY
16
                        UNITED STATES DISTRICT COURT
17
                      NORTHERN DISTRICT OF CALIFORNIA
18
     LARRY HIXSON,                        )
19                                        ) Case No. 3:22-CV-09062-WHA
                          Plaintiff,      )
20                                        )
           vs.                            ) [PROPOSED] ORDER ON JOINT
21                                        ) REQUEST TO APPEAR AT CASE
     FORD MOTOR COMPANY; and              ) MANAGEMENT CONFERENCE
22   DOES 1 through 10, inclusive,        ) REMOTELY
                                          )
23   Defendant(s).                        ) State Court Complaint Filed:
                                          ) June 3, 2022
24                                        )
                                            CMC: April 13, 2023, 11AM
25
                                            Remote Appearance Requested
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                                     -1-
      [PROPOSED] ORDER ON JOINT REQUEST TO APPEAR AT CASE MANAGEMENT
                           CONFERENCE REMOTELY
     Case 3:22-cv-09062-WHA Document 16-1 Filed 04/07/23 Page 2 of 2



 1

 2                              [PROPOSED] ORDER
 3        Upon consideration of the Parties’ Joint Request to Appear Remotely at the
 4   April 13, 2023 Scheduling Conference, and good cause appearing,
 5        IT IS ORDERED THAT
 6        Counsel for the Parties may appear at the April 13, 2023 Scheduling
 7   Conference remotely.
 8

 9        IT IS SO ORDERED.
10
                            DATED: _______________
11        ________________________________
                                    Hon. William H. Alsup
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      [PROPOSED] ORDER ON JOINT REQUEST TO APPEAR AT CASE MANAGEMENT
                           CONFERENCE REMOTELY
